                   UNITED STATES DISTRICT COURT
                   EASTERN DISTRICT OF WISCONSIN


NATHANIEL ROBINSON,

               Plaintiff,

      v.                                             Case No. 17-CV-349

KEVIN KREMBS,

               Defendant.


                                      ORDER


      On March 28, 2018, the Court denied plaintiff Nathaniel Robinson’s second

motion for counsel. ECF No. 21. The Court, however, acknowledged the challenges

that Mr. Robinson faces in litigating his claims given that he is currently housed in

segregation. As a result, the Court granted Mr. Robinson’s alternative request for

an extension of the discovery and dispositive motion deadlines. ECF No. 26. Mr.

Robinson informed the Court that he is scheduled to be released from prison in late

May, so the Court extended the discovery deadline to July 13, 2018, and the

dispositive motion deadline to August 13, 2018.

      The same day that the Court entered its order, it received a motion from Mr.

Robinson, asking the Court to reconsider its decision to deny his motion for counsel.

Mr. Robison did not know when he prepared his motion that the Court would

extend the discovery and dispositive motion deadlines. In light of those extensions,

the Court will deny Mr. Robinson’s motion for reconsideration.




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       After Mr. Robinson is released from prison, he will have access to many more

resources than he currently has access to in prison, including local law libraries

and/or legal clinics. He also will be able to contact opposing counsel more easily in

order to discuss his concerns about discovery. Mr. Robinson’s filings to date have

been thorough, well supported, and easy to understand. His feelings of inadequacy

and his lack of legal knowledge are common to all prisoner plaintiffs and are not a

sufficient basis on their own to warrant the Court recruiting counsel to represent

him. In the Court’s experience, Mr. Robinson appears to be better equipped than

most to represent himself. As such, at this time, the Court declines to reconsider its

decision that Mr. Robinson is capable of representing himself through the briefing

of summary judgment.

      If, at any point, the parties believe that this case can be resolved through

mediation, the Court encourages them to file a joint motion asking the Court to

refer the case to another U.S. Magistrate Judge for that purpose.

      THEREFORE, IT IS ORDERED that Mr. Robinson’s motion for

reconsideration (ECF No. 27) is DENIED WITHOUT PREJUDICE.

      Dated at Milwaukee, Wisconsin, this 4th day of April, 2018.


                                                BY THE COURT:

                                                s/ David E. Jones
                                                DAVID E. JONES
                                                United States Magistrate Judge




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